                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                3:09cr32-1

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
Vs.                                              )             ORDER
                                                 )
GLORIA GLISSON,                                  )
                                                 )
                 Defendant.                      )
_______________________________                  )

        THIS MATTER is before the court on defendant’s pro se Motion to Tender Payment

for the Profit of This Court Under Joint House Resolution 192. Inasmuch as defendant was

represented by counsel at the time she filed such pro se motion, the motion will be denied

in accordance with L.Cr.R. 47.1(H). The court has also reviewed the substance of the motion

and it appears to be a non-justiciable motion in that no relief can be afforded to defendant

based on such pleading. Having considered defendant’s motion and reviewed the pleadings,

the court enters the following Order.



                                         ORDER

        IT IS, THEREFORE, ORDERED that defendant’s Motion to Tender Payment for

the Profit of This Court Under Joint House Resolution 192 (#100) is DENIED.



                                             Signed: October 14, 2011




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